                                      United States Bankruptcy Court
                                           District of Arizona
In re:                                                                                  Case No. 19-04191-EPB
RODNEY LEWIS CROSSLIN                                                                   Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0970-2           User: franchea               Page 1 of 2                   Date Rcvd: Jul 19, 2019
                               Form ID: van049              Total Noticed: 32


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 21, 2019.
db             +RODNEY LEWIS CROSSLIN,    14020 N BLACK CANYON HWY. APT. #1076,     PHOENIX, AZ 85053-5891
cr             +Fast and Furious Auto Title Loans, LLC,     Attn: B. Lester Law Firm,    16042 N 32nd St.,
                 Suite D14,   Phoenix, AZ 85032-3806
15518374       +Arizona Attorney General- Marcopa North,     11420 N. 19th Avenue,    Mailbox 7613,
                 Phoenix AZ 85029-3604
15518377       +B Glenn Lester Law Firm,    16042 N 32nd St.,    Phoenix AZ 85032-3806
15518378        BHFC Financial Services Inc.,    7071 N 56th Ave.,    Glendale AZ 85301
15518381      ++CONTINENTAL FINANCE COMPANY LLC,    PO BOX 8099,    NEWARK DE 19714-8099
               (address filed with court: Continental Finance Company,      PO Box 8099,    Newark DE 19714)
15518382        Convergent Outsourcing Inc.,    PO Box 90064,    Renton WA 98057
15518384       +Deer Creek Village Apartments,    20244 N 31st Ave.,    Phoenix AZ 85027-6051
15518385       +Desert Star Apartments,    1106 W Bell Rd,    Phoenix AZ 85023-7935
15518388       +First Bank Of Colorado,    PO Box 150097,    Denver CO 80215-0097
15518389        First Premier Bank,    PO Box 5524,   Sioux Falls SD 57117-5524
15518394       +Mid America Bank & Trust,    216 West Second St.,    Dixon MO 65459-8048
15518396       +Reliant Holdings, Inc.,    1707 Warren Rd.,    Indiana PA 15701-2423
15518397       +Shikura Inezia Boatright,    c/o Arizona Dept. of Economic Security,     1789 W Jefferson St,
                 Phoenix AZ 85007-3202
15518398        Southwest Financial LLC,    9180 S Kyrene Road.,    Ste. 112,    Scottsdale AZ 85258-4000
15518399       +Summervile Place,   6801 W Ocotillo Rd,     Glendale AZ 85303-3107
15518400       +TCS, Inc./ Thunderbird Collection,    3200 N Hayden Rd. Ste. 110,     Scottsdale AZ 85251-6766

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
15518373       +E-mail/Text: bankruptcy@rentacenter.com Jul 20 2019 01:52:02         Acceptance Now,
                 Attn: Customer Service,    5501 Headquarters Dr.,     Plano TX 75024-5837
15518375       +E-mail/Text: bankruptcynotices@azdor.gov Jul 20 2019 01:49:30         Arizona Department of Revenue,
                 P.O. Box 52016,    Phoenix AZ 85072-2016
15518376       +E-mail/Text: bankruptcy@autonowfinancial.com Jul 20 2019 01:51:48         Auto Now Financial Svc.,
                 Attn: Bankruptcy,    PO Box 816,    Glendale AZ 85311-0816
15518380       +E-mail/Text: mdoan@cigfinancial.com Jul 20 2019 01:51:35        CIG Financial,
                 6 Executive Circle Ste. 100,     Irvine CA 92614-6732
15518379       +E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Jul 20 2019 01:59:15         Capital One,
                 PO Box 30285,    Salt Lake City UT 84130-0285
15518383       +E-mail/PDF: creditonebknotifications@resurgent.com Jul 20 2019 01:59:22         Credit One Bank,
                 Attn: Bankruptcy Dept.,    PO Box 98873,    Las Vegas NV 89193-8873
15518386       +E-mail/Text: mrdiscen@discover.com Jul 20 2019 01:49:42        Discover Financial Servics LLC,
                 Po Box 15316,    Wilmington DE 19850-5316
15518387       +E-mail/Text: bknotice@ercbpo.com Jul 20 2019 01:51:01        ERC,    8014 Bayberry Rd.,
                 Jacksonville FL 32256-7412
15518390       +E-mail/Text: GenesisFS@ebn.phinsolutions.com Jul 20 2019 01:52:10         Genesis Bankcard Services,
                 PO Box 4477,    Beaverton OR 97076-4401
15518391       +E-mail/Text: bknotice@healthcareinc.com Jul 20 2019 01:51:58         Healthcare Collections, LLC,
                 PO Box 82910,    Phoenix AZ 85071-2910
15518392       +E-mail/Text: compliance@iqdata-inc.com Jul 20 2019 01:52:13         IQ Data International,
                 PO Box 39,    Bothell WA 98041-0039
15518393        E-mail/Text: JCAP_BNC_Notices@jcap.com Jul 20 2019 01:51:20         Jefferson Capital Systems,
                 PO Box 1999,    Saint Cloud MN 56302
15518395       +E-mail/Text: bankruptcy@moneylion.com Jul 20 2019 01:51:49         Moneylion,   PO Box 1547,
                 Sandy UT 84091-1547
15518401        E-mail/Text: ahzpclaw@gmail.com Jul 20 2019 01:50:56        US Collections West Inc.,
                 PO Box 39695,    Phoenix AZ 85069
15518402        E-mail/Text: wfmelectronicbankruptcynotifications@verizonwireless.com Jul 20 2019 01:46:40
                 Verizon Wireless,    Bankruptcy Administration,    POB 3397,     Bloomington IL 61702-3397
                                                                                                TOTAL: 15

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                          TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




        Case 2:19-bk-04191-EPB Doc 26 Filed 07/19/19 Entered 07/21/19 21:51:29                         Desc
                             Imaged Certificate of Notice Page 1 of 3
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                                      Form ID: van049                    Total Noticed: 32


              ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 21, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 19, 2019 at the address(es) listed below:
              BRIAN GLEN LESTER    on behalf of Creditor   Fast and Furious Auto Title Loans, LLC
               brian@blesterlawfirm.com
              DALE D. ULRICH    AZ18@ecfcbis.com
              THOMAS ADAMS MCAVITY    on behalf of Debtor RODNEY LEWIS CROSSLIN tom@nwrelief.com,
               melissa@nwrelief.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                             TOTAL: 4




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FORM VAN−049
REVISED 06/16/2015



                          UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF ARIZONA

In re:                                                     Case No.: 2:19−bk−04191−EPB

    RODNEY LEWIS CROSSLIN                                  Chapter: 7
    14020 N BLACK CANYON HWY. APT. #1076
    PHOENIX, AZ 85053
    SSAN: xxx−xx−8189
    EIN:

Debtor(s)


                                           NOTICE OF HEARING

   NOTICE IS HEREBY GIVEN that:
   A hearing in the above−entitled cause will be held at the U.S. Bankruptcy Court, 230 N. First Avenue, 7th Floor,
Courtroom 703, Phoenix, AZ before the Honorable Eddward P. Ballinger Jr. on 8/13/19 at 11:00 AM to consider and
act upon the following matter:

MOTION TO EXTEND TIME TO OBJECT TO DISCHARGE/DISCHARGEABILITY FILED BY FAST AND
FURIOUS AUTO TITLE LOANS, LLC



   Any response or objection shall be filed pursuant to Local Bankruptcy Rule 9013(1)(c), or as set forth by the Court
within this notice.




Date: July 19, 2019

Address of the Bankruptcy Clerk's Office:                  Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                          George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov




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